       Case 1:20-cv-04809-TCB Document 76 Filed 12/07/20 Page 1 of 4




          IN THE UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION


CORECO JA’QAN PEARSON, et al.,
                                                             CASE NO.
      Plaintiffs,
v.                                                           1:20-cv-4809-TCB

BRIAN KEMP, et al.,

      Defendants.


                NOTICE OF EMERGENCY APPEAL

      Plaintiffs Coreco Ja’Qan Pearson, et al., pursuant to 28 U.S.C. §1291 and

Fed. R. App. P. 4, hereby file an appeal to the United States Court of Appeals

for the Eleventh Circuit from this Court’s Order of December 7, 2020, granting

Defendants’ Motions to Dismiss and dissolving the Temporary Restraining

Order that prohibited destruction of evidence on Dominion Voting Systems

equipment in Georgia (Minute Order Doc. 74; Judgment Doc. 75).

      Plaintiffs request this Court immediately transmit this notice of appeal

to the Eleventh Circuit so that that court may docket the matter, thus enabling

Plaintiffs to proceed as quickly as possible to have these urgent issues of

national importance addressed.


                                          Respectfully submitted,


                                          /s Sidney Powell

                                      1
Case 1:20-cv-04809-TCB Document 76 Filed 12/07/20 Page 2 of 4




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                             2
       Case 1:20-cv-04809-TCB Document 76 Filed 12/07/20 Page 3 of 4




     The undersigned certifies that the foregoing document was prepared in

13-point Century Schoolbook font and in accordance with the margin and

other requirements of Local Rule 5.1.



                                            s/ Harry W. MacDougald
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                                        3
       Case 1:20-cv-04809-TCB Document 76 Filed 12/07/20 Page 4 of 4




                      CERTIFICATE OF SERVICE

     This is to certify that I have on this day e-filed the foregoing NOTICE

OF APPEAL with   the Clerk of Court using the CM/ECF system which will

cause service to made upon counsel of record therein.

     This 7th day of December 2020.

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